AO 245B (W D N C R ev. 2/11) Judgm ent in a C rim inal C ase



                                                           United States District Court
                                                      For The W estern District of North Carolina

UNITED STATES OF AMERICA                                                                   JUDGM ENT IN A CRIM INAL CASE
                                                                                   (For Offenses Com m itted On or After Novem ber 1, 1987)
             V.
                                                                                   Case Num ber: DNCW 510CR000053-003
DAVID ALAN LARGE
                                                                                   USM Num ber: 73098-065

                                                                                   Erin Taylor
                                                                                   Defendant’s Attorney

THE DEFENDANT:

X            Pleaded guilty to count(s) 1.
             Pleaded nolo contendere to count(s) which was accepted by the court.
             W as found guilty on count(s) after a plea of not guilty.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):


                                                                                                 Date Offense
 Title and Section                    Nature of Offense                                          Concluded                      Counts

 18:2252A                             Conspiracy to distribute child pornography                 4/12/10                        1



         The defendant is sentenced as provided in pages 2 through 6 of this judgm ent. The sentence is im posed pursuant to the
Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. § 3553(a).

             The defendant has been found not guilty on count(s) .
X            Count(s) 4 is dism issed on the m otion of the United States.

           IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of
nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents im posed by this judgm ent are fully
paid. If ordered to pay m onetary penalties, the defendant shall notify the court and United States attorney of any m aterial change in
the defendant’s econom ic circum stances.

                                                                                         Date of Im position of Sentence: October 2, 2012




                                                                                         Date:            October 15, 2012




                       Case 5:10-cr-00053-KDB-DSC                   Document 179         Filed 10/15/12         Page 1 of 7
AO 245B (W D N C R ev. 2/11) Judgm ent in a C rim inal C ase



Defendant: DAVID ALAN LARGE                                                                                        Judgm ent-Page 2 of 6
Case Num ber: DNCW 510CR000053-003

                                                                 IM PRISONM ENT

       The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a term of
SEVENTY (70) MONTHS.




X            The Court m akes the following recom m endations to the Bureau of Prisons:

             That defendant be designated to Long Beach Term inal Island or as close to his hom e in Salem , OR, as possible.
             That defendant be allowed to participate in any substance abuse treatm ent program s while incarcerated, and if eligible
             receive benefits of 18:3621(e)(2). Defendant has a substance abuse problem with beer and m arijuana.
             That defendant be allowed to participate in educational and vocational opportunities while incarcerated.
             That defendant be allowed to participate in a sex offender treatm ent while incarcerated, if eligible.

             The Defendant is rem anded to the custody of the United States Marshal.

             The Defendant shall surrender to the United States Marshal for this District:

                               As notified by the United States Marshal.

                                At___a.m . / p.m . on ___.

X            The Defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

                   X           as notified by the United States Marshal.

                                Before 2 p.m . on ___.

                               As notified by the Probation Office.

                                                                      RETURN

             I have executed this Judgm ent as follows:




        Defendant delivered on __________ to _______________________________________ at
________________________________________, with a certified copy of this Judgm ent.




___________________________________________
           United States Marshal


                                                                                      By:
_______________________________________
                                                                                                      Deputy Marshal



                       Case 5:10-cr-00053-KDB-DSC                 Document 179       Filed 10/15/12       Page 2 of 7
AO 245B (W D N C R ev. 2/11) Judgm ent in a C rim inal C ase



Defendant: DAVID ALAN LARGE                                                                                                                         Judgm ent-Page 3 of 6
Case Num ber: DNCW 510CR000053-003

                                                                       SUPERVISED RELEASE

             Upon release from im prisonm ent, the defendant shall be on supervised release for a term of TEN (10) YEARS.

             The condition for m andatory drug testing is suspended based on the court’s determ ination that the defendant poses a low
             risk of future substance abuse.
                                              STANDARD CONDITIONS OF SUPERVISION

             The defendant shall com ply with the standard conditions that have been adopted by this court and any additional conditions ordered.

1.           The defendant shall not com m it another federal, state, or local crim e.
2.           The defendant shall refrain from possessing a firearm , destructive device, or other dangerous weapon.
3.           The defendant shall pay any financial obligation im posed by this judgm ent rem aining unpaid as of the com m encem ent of the sentence of probation or the
             term of supervised release on a schedule to be established by the C ourt.
4.           The defendant shall provide access to any personal or business financial inform ation as requested by the probation officer.
5.           The defendant shall not acquire any new lines of credit unless authorized to do so in advance by the probation officer.
6.           The defendant shall not leave the W estern D istrict of N orth C arolina without the perm ission of the C ourt or probation officer.
7.           The defendant shall report to the probation officer in a m anner and frequency directed by the court or probation officer.
8.           A defendant on supervised release shall report in person to the probation officer in the district to which he or she is released within 72 hours of release
             from custody of the Bureau of Prisons.
 9.          The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.
10.          The defendant shall support his or her dependents and m eet other fam ily responsibilities.
11.          The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other activities authorized by
             the probation officer.
12.          The defendant shall notify the probation officer within 72 hours of any change in residence or em ploym ent.
13.          The defendant shall refrain from excessive use of alcohol and shall not unlawfully purchase, possess, use, distribute or adm inister any narcotic or other
             controlled substance, or any paraphernalia related to such substances, except as duly prescribed by a licensed physician.
14.          The defendant shall participate in a program of testing and treatm ent or both for substance abuse if directed to do so by the probation officer, until such
             tim e as the defendant is released from the program by the probation officer; provided, however, that defendant shall subm it to a drug test within 15 days
             of release on probation or supervised release and at least two periodic drug tests thereafter for use of any controlled substance, subject to the provisions
             of 18:3563(a)(5) or 18:3583(d), respectively; The defendant shall refrain from obstructing or attem pting to obstruct or tam per, in any fashion, with the
             efficiency and accuracy of any prohibited substance testing or m onitoring which is (are) required as a condition of supervision.
15.          The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or adm inistered.
16.          The defendant shall not associate with any persons engaged in crim inal activity, and shall not associate with any person convicted of a felony unless
             granted perm ission to do so by the probation officer.
17.          The defendant shall subm it his person, residence, office, vehicle and/or any com puter system including com puter data storage m edia, or any electronic
             device capable of storing, retrieving, and/or accessing data to which they have access or control, to a search, from tim e to tim e, conducted by any U.S.
             Probation Officer and such other law enforcem ent personnel as the probation officer m ay deem advisable, without a warrant. The defendant shall warn
             other residents or occupants that such prem ises or vehicle m ay be subject to searches pursuant to this condition.
18.          The defendant shall perm it a probation officer to visit him or her at any tim e at hom e or elsewhere and shall perm it confiscation of any contraband
             observed by the probation officer.
19.          The defendant shall notify the probation officer within 72 hours of defendant’s being arrested or questioned by a law enforcem ent officer.
20.          The defendant shall not enter into any agreem ent to act as an inform er or a special agent of a law enforcem ent agency without the perm ission of the
             C ourt.
21.          As directed by the probation officer, the defendant shall notify third parties of risks that m ay be occasioned by the defendant’s crim inal record or personal
             history or characteristics, and shall perm it the probation officer to m ake such notifications and to confirm the defendant’s com pliance with such notification
             requirem ent.
22.          If the instant offense was com m itted on or after 4/24/96, the defendant shall notify the probation officer of any m aterial changes in defendant’s econom ic
             circum stances which m ay affect the defendant’s ability to pay any m onetary penalty.
23.          If hom e confinem ent (hom e detention, hom e incarceration or curfew) is included you m ay be required to pay all or part of the cost of the electronic
             m onitoring or other location verification system program based upon your ability to pay as determ ined by the probation officer.
24.          The defendant shall cooperate in the collection of D N A as directed by the probation officer.
25.          The defendant shall participate in transitional support services under the guidance and supervision of the U .S. Probation Officer. The defendant shall
             rem ain in the services until satisfactorily discharged by the service provider and/or with the approval of the U .S. Probation Officer.


ADDITIONAL CONDITIONS:

26.          The defendant shall have no direct or indirect contact, at any tim e, for any reason with the victim (s), the victim ’s fam ily or affected parties in this m atter
             unless provided with specific written authorization to do so in advance by the U. S. Probation Officer. C ourt notes that there were no nam ed or unnam ed
             victim s, for that m atter, with whom defendant has had any past specific contact other than through depictions.
27.          The defendant shall subm it to a psycho-sexual evaluation by a qualified m ental health professional experienced in evaluating and m anaging sexual
             offenders as approved by the U. S. Probation Officer. The defendant shall com plete the treatm ent recom m endations and abide by all of the rules,
             requirem ents and conditions of the program until discharged. The defendant shall take all m edications as prescribed.
28.          The defendant shall subm it to risk assessm ents, psychological and physiological testing, which m ay include, but is not lim ited to a polygraph exam ination
             and/or C om puter Voice Stress Analyzer (C VSA ) or other specific tests to m onitor the defendant’s com pliance with supervised release and treatm ent
             conditions, at the direction of the U . S. Probation Officer.
29.          The defendant’s residence and em ploym ent shall be approved by the U . S. Probation Officer. Any proposed change in residence or em ploym ent m ust
             be provided to the U. S. Probation Officer at least 10 days prior to the change and pre-approved before the change m ay take place.
30.          The defendant shall not possess any m aterials depicting and/or describing “child pornography” and/or “sim ulated child pornography” as defined in 18
             U SC , Section 2256, nor shall the defendant enter any location where such m aterials can be accessed, obtained or review ed, including pictures,
             photographs, books, writings, drawings, videos or video gam es.
31.          The defendant shall register as a sex offender and keep the registration current, in each jurisdiction where the offender resides, where the offender is an
                       Case 5:10-cr-00053-KDB-DSC                             Document 179                 Filed 10/15/12              Page 3 of 7
             em ployee, and where the offender is a student. For initial registration purposes only, a sex offender shall also register in the jurisdiction in which
             convicted if such jurisdiction is different from the jurisdiction of residence.
D efendant: D avid Alan Large                                                                                                           Judgm ent-Page 3A of 6
C ase Num ber: D N C W 510CR 000053-003

32.        The defendant shall allow the U. S. Probation Officer, or other designee, to install software designed to m onitor com puter activities on any com puter the
           defendant is authorized to use. This m ay include, but is not lim ited to, software that m ay record any and all activity on com puters the defendant m ay use,
           including the capture of keystrokes, application inform ation, internet use history, em ail correspondence and chat conversations. The defendant shall pay
           any costs related to the m onitoring of com puter usage.
33.        The defendant shall not use or have installed any program s specifically and solely designed to encrypt data, file folders or volum es of any m edia. The
           defendant shall upon request im m ediately provide the probation officer with any and all passwords required to access data com pressed or encrypted for
           storage by any software.
34.        The defendant shall provide a com plete record of all passwords, internet service providers, em ail addresses, em ail accounts, screen nam es, etc. (past
           and present) to the probation officer and shall not m ake any changes without the prior approval of the U . S. Probation Officer.
35.        The defendant shall not have any social networking accounts without the approval of the U. S. Probation Officer
36.        D uring the period of supervised release, the defendant shall notify all em ployers, fam ily, friends and others with whom he m ay have regular contact of his
           conviction and/or history as a sex offender and that the defendant is being supervised by a U . S. Probation Officer.




                     Case 5:10-cr-00053-KDB-DSC                           Document 179                Filed 10/15/12              Page 4 of 7
AO 245B (W D N C R ev. 2/11) Judgm ent in a C rim inal C ase


Defendant: DAVID ALAN LARGE                                                                                           Judgm ent-Page 4 of 6
Case Num ber: DNCW 510CR000053-003

                                                               CRIM INAL M ONETARY PENALTIES

The defendant shall pay the following total crim inal m onetary penalties in accordance with the Schedule of Paym ents.


                   ASSESSM ENT                                                  FINE                                RESTITUTION

                        $100.00                                                 $0.00                                   $0.00



X                 The determ ination of restitution is deferred until Decem ber 28, 2012 . An Amended Judgment in a Criminal Case (AO
                  245C) will be entered after such determ ination.

                                                                              FINE


          The defendant shall pay interest on any fine or restitution of m ore than $2,500.00, unless the fine or restitution is paid in full
before the fifteenth day after the date of judgm ent, pursuant to 18 U.S.C. § 3612(f). All of the paym ent options on the Schedule of
Paym ents m ay be subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

X                 The court has determ ined that the defendant does not have the ability to pay interest and it is ordered that:

X                 The interest requirem ent is waived.

                  The interest requirem ent is m odified as follows:


                                                               COURT APPOINTED COUNSEL FEES

                  The defendant shall pay court appointed counsel fees.

                  The defendant shall pay $                        towards court appointed fees.




                       Case 5:10-cr-00053-KDB-DSC                        Document 179         Filed 10/15/12   Page 5 of 7
AO 245B (W D N C R ev. 2/11) Judgm ent in a C rim inal C ase


Defendant: DAVID ALAN LARGE                                                                                                Judgm ent-Page 5 of 6
Case Num ber: DNCW 510CR000053-003


                                                                SCHEDULE OF PAYM ENTS


Having assessed the defendant’s ability to pay, paym ent of the total crim inal m onetary penalties shall be due as follows:

             A     X           Lum p sum paym ent of $ 100.00 due im m ediately, balance due

                               not later than        , or
                               in accordance           ©,      (D) below; or

             B                 Paym ent to begin im m ediately (m ay be com bined with          ©,       (D) below); or

             C                 Paym ent in equal            (e.g. weekly, m onthly, quarterly) installm ents of $           to com m ence
                                (e.g. 30 or 60 days) after the date of this judgm ent; or

             D                 Paym ent in equal             (e.g. weekly, m onthly, quarterly) installm ents of $        to com m ence
                                 (e.g. 30 or 60 days) after release from im prisonm ent to a term of supervision. In the event the entire
                               am ount of crim inal m onetary penalties im posed is not paid prior to the com m encem ent of supervision, the
                               U.S. Probation Officer shall pursue collection of the am ount due, and m ay request the court to establish or
                               m odify a paym ent schedule if appropriate 18 U.S.C. § 3572.


Special instructions regarding the paym ent of crim inal m onetary penalties:

             The defendant shall pay the cost of prosecution.
             The defendant shall pay the following court costs:
X            The defendant shall forfeit the defendant’s interest in the following property to the United States:
             property identified by the U. S. in the Consent Order and Judgm ent of Forfeiture filed on 7/25/11, docum ent num ber 92.


Unless the court has expressly ordered otherwise in the special instructions above, if this judgm ent im poses a period of im prisonm ent
paym ent of crim inal m onetary penalties shall be due during the period of im prisonm ent. All crim inal m onetary penalty paym ents are
to be m ade to the United States District Court Clerk, 200 W est Broad Street, Room 100, Statesville, NC 28677, except those
paym ents m ade through the Bureau of Prisons’ Inm ate Financial Responsibility Program . All crim inal m onetary penalty paym ents are
to be m ade as directed by the court.




Paym ents shall be applied in the following order: (1) assessm ent, (2) restitution principal, (3) restitution interest, (4) fine principal, (5)
fine interest, (6) com m unity restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.




                       Case 5:10-cr-00053-KDB-DSC                      Document 179       Filed 10/15/12            Page 6 of 7
AO 245B (W D N C R ev. 2/11) Judgm ent in a C rim inal C ase



Defendant: DAVID ALAN LARGE                                                                                       Judgm ent-Page 6 of 6
Case Num ber: DNCW 510CR000053-003

                                                           STATEMENT OF ACKNOW LEDGMENT

I understand that m y term of supervision is for a period of _______m onths, com m encing on ____________________ .

Upon a finding of a violation of probation or supervised release, I understand that the court m ay (1) revoke supervision, (2) extend the
term of supervision, and/or (3) m odify the conditions of supervision.

I understand that revocation of probation and supervised release is m andatory for possession of a controlled substance, possession
of a firearm and/or refusal to com ply with drug testing.

These conditions have been read to m e. I fully understand the conditions and have been provided a copy of them .




(Signed)       ____________________________________ Date: _________________
                Defendant

(Signed)       ____________________________________ Date: _________________
                U.S. Probation Office/Designated W itness




                       Case 5:10-cr-00053-KDB-DSC                  Document 179   Filed 10/15/12        Page 7 of 7
